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IN THE UNITED STATES DI STRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

UNITED STATES OF AMERICA

v. . ! NO. 3:20-CR-0384-N
VINSON WOODLEE |
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Sey

PLEA AGREEMENT

VINSON WOODLEE. the defendant, Scott Thomas, the defendant’s attomey, and

 

the United States of America (the government) agree as follows:

1. Rights of the defendant: The defendant understands that the defendant
has the rights: |
a. to plead not guilty;
b. lo have a trial by jury:
ic to have the defendant's guilt proven beyond a reasonable doubt:
a. to confront and cross-examine witnesses and to call witnesses in the

defendant's defense: and
e@. against compelled self-incrimination.

2, Waiver of rights and plea of guilty: The defendant waives these rights
and pleads guilty to the offense alleged in Count One of the indictment, charging a
violation of 18 U.S.C. §371 (42 U.S.C. § 1320a-7b(b\(1)), that is. Conspiracy to Solicit

and Receive Health Care Kickbacks. The defendant understands the nature and elements

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of the crime to which the defendant is pleading guilty, and agrees that the factual resume
the defendant has signed is true and will be submitted as evidence.
3 Sentence: The maximum penaltics the Court can impose include:

a imprisonment for a period not to exceed 5 years:

b. a fine not lo exceed $250,000, or twice any pecuniary gain to the
defendant or loss to the victim(s)-

c. a term of supervised release of not more than 3 years, which may be
mandatory under the law and will follow any term of imprisonment.
If the defendant violates the conditions of supervised release, the
defendant could be imprisoned for the entire term of supervised
release: |

d, a mandatory special assessment of $100: |

a. restitution to victims or to the community, which is mandatory under
the law, and which the defendant agrees may include restitution
arising from all relevant conduct, not limited to that arising from the

offense of conviction alone:

costs of incarceralion and supervision: and

f.
g. forfeiture of property.
4, Immigration consequences: ‘The defendant recognizes that pleading

guilty may have consequences with respect to the defendant's immi gration status if the
defendant is not a citizen of the United States. Under federal la, a broad range of
crimes are removable offenses. The defendant understands this may include the offense
to which the defendant is pleading guilty, and for purposes of this plea agreement. the

defendant assumes the offense is a removable offense. Removal and other immigration

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consequences are the subject of a separate proceeding. howeyer, and the defendant
understands that no one. including the defendant's attorney ok the district court. can
predict to a certainty the effect of the defendant's conviction on the defendant's
immigration status. The defendant nevertheless affirms that the defendant wants to plead
guilty regardless of any immigration consequences that the defendant's plea of guilty
may entail. even if the consequence is the defendant’ s auitonridtic Temoval from the United
States.

3. Court's sentencing discretion and role of the Guidelines: The defendant
understands that the sentence in this case will be unposed by the Court after consideration
of the United States Sentencing Guidelines, The guidelines are not binding on the Court.
but are advisory only. The defendant has reviewed the auidelines with the defendant's
allorney. bul understands no one can predict with certainty the outcome of the Court’s
consideration of the guidelines in this case. The defendant will not be allowed to
withdraw the defendant's plea if the defendant's sentence is higher than expected. The
defendant fully understands that the actual sentence imposed (so Jong as it is within the
Statutory Maximum) is solely in the discretion of the Court, |

6. Mandatory special assessment: Prior to sentencing, the defendant agrees
to pay to the U.S. District Clerk the amount of $100 in Salislaction of the mandatory
Spécial assessment in this case. |

te Financial Obligations: The defendant understands that any financial

obligation imposed by the Court for restitution, fines. or special assessments is due and

payable immediately. In the event the Court imposes a schedule for payment. the

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defendant agrees that such a schedule represents a minimum payment obligation and does
not preclude the U.S. Attorney's Office from pursuing anv other means by which to
satisfy the defendant's full and immediately enforceable financial obligation. The
defendant understands that the defendant has a continuing obligation to pay in full as
Soon as possible any financial obligation imposed by the Court. The defendant further

agrees as follows:
|

a Financial Disclosures: Within 14 days of the execution of this plea
agreement the defendant shall submit an accurate and complete personal
financial statement under oath to the U.S. Attomiey’s Office. Upon
demand, the defendant shall provide any and all additional financial
documentation requested to the USPO, the Court. or the government. until
his financial obligations have been paid in full. |

b, Financial Interviews: The defendant shall subm it to interviews by the
government and the USPO regarding the defendant's capacity to satisfy any
fine. restitution, or special assessment. |

Credit Check: The defendant expressly authorizes the United States
Attomey’s Office to mmediately obtain a credit report on the defendant to
evaluate the defendant's ability to satisfy any financial obligation imposed
by the Court: |

o

cd Asset Preservation: Until restitution is paid in full by all defendants, the
defendant agrees not to transfer any asset in which the defendant has an
interest without prior express written consent of the U.S. Attomey, except
for: (1) ordinary living expenses necessary to house. clothe, transport. and
feed the defendant and those to whom the defendant owes a legal duty of
Support: and (2) attomey’s fees incurred in connection with this criminal
case. The defendant further agrees to fully cooperate with the government
in the liquidation of assets to be applied towards anv financial obligations
imposed in this case. The defendant understands the government will
review all financial disclosures submitted and require the defendant to
make good-faith efforts toward payment of all financial obligations
imposed by this Court. |

 

e Treasury Offset Program: The defendant consents to enroliment upon
sentencing in the Treasury Offset Program, at the sole discretion of the

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government, which would allow for funds otherwise payable to the
defendant from any federal agency. including the Internal Revenue Service

and the Social Security Administration, to be applied to the defendant's
outstanding financial obligations imposed by the Court.

8. Restitution: Pursuant to 18 U.S.C. $ 36634. the parties agree and stipulate

that restitution is mandatory in this case. The parties further bere that the Court may
determine that there are issues of fact that may make the determination of restitution
complex in this case. See 18 ULS.C. § 3663A(c)(3). Notwithstanding any such
determination by the Court pursuant to 18 U.S.C. §§ 36634 bad 3663(a)(3), the parties
agrec and stipulate that the defendant shall owe restitution of at least $2.000,000.00 as

tollows:

 

 

 

Victim Amount |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| Medicare $817,349.60
_TRICARE $732,612.37 _|
| CHAMPVA $22,672.73

"FECA $437,365.30 _|
_Total ___$2.000.000.00 |

The defendant azrees that the supulated restitution amount reflects the practical.
applicable restitution amount in this case given the defendant's financial resources and
future earning capacity. The defendant agrees that the Court in complying with the
Mandatory Victims Restitution Act and this Plea Agreement may order restitution that is
higher than the stipulated amount if additional losses. victims, dndfor relevant conduct is

identified,

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9, Defendant’s agreement: The defendant shall give complete and truthful
information and/or testimony conceming the defendant's participation in the offense of
conviction.

10. Forfeiture of property: The defendant apreesiuat lo contest, challenge. or
appeal in any way the administrative or judicial (civil or criminal) forfeiture to the United
States of any property noted as subject to forfeiture in the indictm enl, information, or
forfeiture bill of particulars. The defendant agrees that this property is subject to
forfeiture under 18 U.S.C. § 982(a)(7). Specifically. the defendant agrees to the
lorfeiture of the following property: |

a. 376,321.63 in funds seized from JPMorgan Chase account in the name of J.
Woodlee ending in 7565:

b. $4,764.36 in funds seized from JPMorgan Chase account in the name of
S.L. Woodlee or Vinson Woodlee ending in 9265:

$21,677.88 in funds scized from JPMorgan Chase account in the name of
H.D. Woodlee or SL. Woodlee ending in 1390:

c}
‘

|

d. 37,972.78 in funds seized from JPMorgan Chase account in the name of
Trinity Living Trust ending in 4284- |

é. All funds in Northwestern Mutual policy ending in 6827, fho S. Woodlee:

f, All funds in Northwestern Mutual policy ending in 6831. fbo Vinson
Woodlee: and

2019 Mercedes-Benz GLS 550 (VIN 4JGDF7DE2KB186559).

a
2.
|
The defendant consents lo entry of any orders or declarations of forfeiture regarding such
property and waives any requirements (including notice of forfeiture) set outin 19 ULS.C.

$§ 1607-1609; 18 U.S.C. §§ 981. 983. and 985: the Code of Federal Regulations: and

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Rules |] and 32.2 of the Federal Rules of Criminal Procedure. The defendant agrees to
provide truthful information and evidence necessary for the government to forfeit such
property. The defendant agrees to hold the government, its officers, agents, and
employees harmless from any claim whatsoever in connection with the seizure,
forfeiture, storage, or disposal of such property.

In addition. the defendant and the government desire to resolve all civil forfeiture
matters related to this criminal case (specifically, Case No. 3 “19. CV-2402-L (N_D,
Tex.)). United States v. $8000.53 in F unds Seized from J PMargan Chase Account
Ending in 3329, et. al. (the “Civil Forfeiture Action”) ina global settlement. Therefore.
the defendant agrees to the civil forfeiture of any and all of his interests in the following
properties (collectively. “defendant property”):

a. a, 000.53 in funds seized from JPMorgan Chase account in the name of
ngelina Management Group. LLC ending in 3 429;

b. $9,999.94 in funds seized from JPMorgan C hase account In the name of
August Legacy Business Solutions, LLC coding in 9588:

   

               

 

 

 

 

  

                             

 

 

Austin Group Management LLC ending i im 0550:

d. $8,815.00 in funds seized from JPMorgan Chase Locount in the name of
Bastrop FHC Management. LLC ending in 6039-

$7,213.69 in funds seized from JPMorgan Chase account in the name of
Blue Heron Business Solutions, LLC ending in 0809:

o

323.944,99 in funds seized from J PMorgan Chase account in the name of
Genisys Healthcare Partners. LLC endine j in 5957:

mh

2. $9,172.20 in funds seized from J PMorean Chase 4 account in the name of
Hexamed Business Solutions, 1.LC ending in 3270:

|

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$7,012.58 in funds seized from JPMorgan Chase account in the name of
Houston LIH Management, LLC ending in 0629:

$8.150.00 in funds seized from JPMorgan Chase account in the name of
Houston PAA Management, LLC ending in 5872:

316,000.05 in funds seized from J PMorgan Chase account in the name of
Idealign Business Solutions, LLC ending in 8725:

$24.511.93 in funds seized from JPMorgan Chase account in the name of
Jandon Enterprises, LLC ending in 1251:

38,573.43 in funds seized from J PMorgan Chase account in the name of
Jandon Medical Staifine, LLC ending in 2931:

$118,649.75 in funds seized from JPMorgan Chase account in the name of
Med Lett, LLC ending in 0650:

$8.910.00 in funds seized from JPMorgan Chase account in the name of
North Harris Group Management, LLC ending in 8965:

$8.909.99 in funds seized from J PMorgan Chase account in the name of
Plano DIM Management, LLC ending in 2723:

$9,899.99 in funds seized from JPMorgan Chase account in the name of
Texas EHM Management LLC ending in 0100:

$13,929.46 in funds seized from JPMorgan Chase account in the name of
Trinity Champion Healthcare Pariners. LLC endi ng in 6933:

$88.00 in funds seized from JPMorgan Chase account in the name of
Dayne Healthcare Enterprises, LLC ending in 5813:

$193.17 in funds seized from JPMorgan Chase account in the name of
Houston XXXT Management, ILC ending in 1189;

$3,990.01 in funds seized from JPMorgan Chase account in the name of
Meni Integrity Healthcare Pariners. LLC ending in 3969:

$4,559.93 in funds seized from JPMorgan Chase account in the name of
Baytown Group Management, LIC ending in 9381:

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Vv. 34,777.64 in fimds seized from JPMorgan Chase account in the name of
Riva Reserve Healthcare Partners. LLC ending in 3778:

Ww. $1,349.52 in funds seized from JPMorgan Chase account in the name of
Southern Cross Healthcare Partners. LLC in ending in 5821:

xX. $807.44 in funds seized from JPMorgan Chase account in the name of
Agent Starling Enterprises, LLC ending in 2183: and

y- 31,340.04 in funds seized from JPMorgan Chase account in the name of
South Harris Group Management, LLC ending in $33

pursuant to 18 U_S.C. & 98l(ay WA) and 18 U.S.C. § 981(ayI WC). The defendant
agrees and consents to both a stipulation waiving his right, title. and interest in the
defendant property in the civil forfeiture case and the entry of an agreed judgment
forfeiting the funds and property lo the government, pursuant to IS U.S.C. § 98 ffay WA)
and 18 U.S.C. § 981(ay{1 WC). The defendant consents to entry of a judement of
forfeiture regarding these funds and waives any requirements ( including notice of
forfeiture) set out in Rule G of the Supplemental Rules of Admiralty or Maritime Claims
and Asset Forfeiture Actions and 12 U.S.C. §§ 981 and 983. The defendant avrees to
provide truthful information and evidence necessary for the government to complete the
forfciture of the defendant property. The defendant agrees to hold the government, its
officers, agents. and employees harmless from any claims whatsoever in connection with
the seizure. forfeiture, Storage, or disposal of the defendant ptepeety.

The U.S. Attorney's Office agrces to recommend to the u nited States Department
of Justice in a restoration request that the value of forfeited property in this case be

applied to reduce the amount the defendant owes on the restitution order. If the

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restoration request is approved, the government will transfer the value of forfeited
property to the court for application to the restitution order and distribution to victims,

1}. Exclusion from the Medicare Program and Other Federal Health Care
Programs: The defendant understands and acknowledges that as a result of this plea, the
defendant will be excluded from Medicare. Medicaid, and all other F ederal health care
programs. The defendant agrees to complete and execute all necessary documents
provided by any department or agency of the federal zovernment, including but not
limited to the United States Department of Health and Human Services, to effectuate this
exclusion within 60 days of receiving the documents. This exclusion will not affect the
defendant's right to apply for and receive benefits as a beneficiary under any Federal
health care program, including Medicare and Medicaid.

12. Government’s agreement: The government will not bring any additional
charges against the defendant based upon the conduct underlying and related to the
defendant's plea of guilty. The government will file a Supplement in this case, as is
routinely done in every case, cven though there may or may not be any additional terms.
The government will dismiss. after sentencing, any remaining charges in the pending
indictment. This agreement is limited to the United States Attomey’s Office for the
Northern District of Texas and does not bind any other federal. state, or local prosecuting
authorities, nor does it prohibit any civil or administrative proceeding against the
defendant or any property, except as otherwise set forth herein.

13. Violation of agreement: The defendant understands that if the defendant

violates any provision of this agreement, or if the defendant's guilty plea is vacated or

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withdrawn, the government will be free from any obligations of the agreement and free to
prosecute the defendant for all offenses of which it has knowledge. In such event. the
defendant waives any objections based upon delay in prosecution. If the plea is vacated
or withdrawn for any reason other than a finding that it was involuntary. the defendant
also Waives objection to the use against the defendant of any information or statements
the defendant has provided to the government, and any resulting leads.

14. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats. or of promises apart from those set forth in this plea
agreemenL There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

15. Waiver of right to appeal or otherwise challenge sentence: The
defendant waives the defendant's tights, conferred by 28 U.S.C. § 1291 and 18 USC. §
3742. to appeal the conviction, sentence. fine and order of restitution or forfeiture in an
amount to be determined by the district court. The defendant further waives the
defendant's right to contest the conviction, sentence, fine and order of restitution or
forfeiture in any collateral proceeding. including proceedings under 2 U.S.C. § 2241 and
28 U.S.C. § 2255. The defendant. however. reserves the rights (a) to bring a direct appeal
of (i) a sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error
al sentencing, (b) to challenge the voluntariness of the defendant's plea of guilty or this
waiver, and (c) to bring a claim of ineflective assistance of counsel,

16. Representation of counsel: ‘The defendant has thoroughly reviewed all

legal and factual aspects of this case with the defendant's attorney and is fully satisfied

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with that attomey’s legal representation. The defendant has received from the
defendant's attomey explanations satisfactory to the defendant concerning each
paragraph of this plea agreement each of the defendant's rights affected by this
agreement, and the alternatives available to the defendant other than entering into this
agreement, Because the defendant concedes that the defendant is guilty, and after
conferring with the defendant's attorney. the defendant has concluded that it is in the
defendant's best interest to enter into this plea agreement and all its terms. rather than to
proceed to trial in this case.

17. Entirety of agreement: This document is a complete statement of the
parlies” agreement and may not be modified unless the modification is in writing and
signed by all parties. This agreement supersedes any and all other promises,
representations. understandi ngs. and agreements that are or were made between the
parties al any time before the guilty plea is entered in court. No promises or
representations have becn made by the United States except as set forth in writing in this

plea agreement,

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AGREED TO AND SIGNED this tT day of (Lhe ber. 20_22

CHAD E. MEACHAM
UNITED STATES ATTORNEY

   

IARTY BAS
Assistant United States Attomey
Illinois Bar No. 6302360

RENEE HUNTER

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KATHERINE MILLER
Section Chief

 

 

| have read or had read to me this plea agreement and have careful lv reviewed
every part of it with my attorney. I fully understand it and voluntarily agree lo it.

thse! Drab

VINSON WOODLEE
Defendant

Date

1 am the defendant's attomey. I have carefully reviewed every part of this plea
agreement with the defendant. To my knowledge and belief. my client's decision to enter
into this plea agreement is an informed and voluntary one.

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